Case 3:16-cv-02644-WQH-MSB Document 134 Filed 07/15/20 PageID.3330 Page 1 of 8

                  UNITED STATES COURT OF APPEALS
                                                             FILED
Jul 15 2020                FOR THE NINTH CIRCUIT
                                                             JUL 15 2020
                                                            MOLLY C. DWYER, CLERK
  s/ AKR
                                                             U.S. COURT OF APPEALS




   CHEAP EASY ONLINE TRAFFIC             No. 19-55055
   SCHOOL; et al.,
                                         D.C. No. 3:16-cv-02644-WQH-MSB
              Plaintiffs - Appellants,
                                         U.S. District Court for Southern
       v.                                California, San Diego

   PETER L. HUNTTING & CO., INC.;        MANDATE
   et al.,

              Defendants - Appellees.




   CHEAP EASY ONLINE TRAFFIC             No. 19-55653
   SCHOOL; et al.,
                                         D.C. No. 3:16-cv-02644-WQH-MSB
              Plaintiffs - Appellees,
                                         U.S. District Court for Southern
       v.                                California, San Diego

   PETER L. HUNTTING & CO., INC.
   and ESTATE OF PETER L.
   HUNTTING,

              Defendants - Appellants,

    and

   SMI PENSIONS; et al.,

              Defendants.
Case 3:16-cv-02644-WQH-MSB Document 134 Filed 07/15/20 PageID.3331 Page 2 of 8


   CHEAP EASY ONLINE TRAFFIC                    No. 19-55654
   SCHOOL; et al.,
                                                D.C. No. 3:16-cv-02644-WQH-MSB
                 Plaintiffs - Appellees,
                                                U.S. District Court for Southern
     v.                                         California, San Diego

   SMI PENSIONS; et al.,

                 Defendants - Appellants,

   and

   PETER L. HUNTTING & CO., INC.;
   et al.,

                 Defendants.


          The judgment of this Court, entered June 23, 2020, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: Rebecca Lopez
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
Case 3:16-cv-02644-WQH-MSB Document 134 Filed 07/15/20 PageID.3332 Page 3 of 8




                             NOT FOR PUBLICATION                           FILED
                      UNITED STATES COURT OF APPEALS                        JUN 23 2020
                                                                       MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

  CHEAP EASY ONLINE TRAFFIC                       Nos. 19-55055
  SCHOOL; et al.,
                                                  D.C. No.
                  Plaintiffs-Appellants,          3:16-cv-02644-WQH-MSB

   v.
                                                  MEMORANDUM*
  PETER L. HUNTTING & CO., INC.; et al.

                  Defendants-Appellees.


  CHEAP EASY ONLINE TRAFFIC                       No.   19-55653
  SCHOOL; et al.,
                                                  D.C. No.
                  Plaintiffs-Appellees,           3:16-cv-02644-WQH-MSB

   v.

  PETER L. HUNTTING & CO., INC.;
  ESTATE OF PETER L. HUNTTING,

                  Defendants-Appellants,

  and

  SMI PENSIONS; et al.,

                  Defendants.

        *
               This disposition is not appropriate for publication and is not precedent
  except as provided by Ninth Circuit Rule 36-3.
Case 3:16-cv-02644-WQH-MSB Document 134 Filed 07/15/20 PageID.3333 Page 4 of 8

                                                                           Page 2 of 6



  CHEAP EASY ONLINE TRAFFIC                       No.   19-55654
  SCHOOL; et al.,
                                                  D.C. No.
                  Plaintiffs-Appellees,           3:16-cv-02644-WQH-MSB

   v.

  SMI PENSIONS; et al.,

                  Defendants-Appellants,

  and

  PETER L. HUNTTING & CO., INC.; et al.,

                  Defendants.

                     Appeal from the United States District Court
                       for the Southern District of California
                     William Q. Hayes, District Judge, Presiding

                          Argued and Submitted June 3, 2020
                                Pasadena, California

  Before: RAWLINSON and N.R. SMITH, Circuit Judges, and KORMAN,**
  District Judge.

        Marla Keller and her husband, Borna Mozafari, own and manage two online

  traffic schools, the Cheap Easy Online Traffic School and Easy Online Traffic

  School (collectively “Plaintiffs”), and are trustees of the schools’ retirement plans

  (“Plans”). Plaintiffs sued Peter Huntting, William Sheffler, Sheffler Consulting


        **
               The Honorable Edward R. Korman, United States District Judge for the
  Eastern District of New York, sitting by designation.
Case 3:16-cv-02644-WQH-MSB Document 134 Filed 07/15/20 PageID.3334 Page 5 of 8

                                                                             Page 3 of 6

  Actuaries Inc., and SMI Pensions (collectively “Defendants”), third-party

  administrators who provided services related to the Plans. Plaintiffs alleged

  Defendants breached their duties under the Employee Retirement Security Income

  Act (“ERISA”), and also alleged state law professional negligence and breach of

  contract claims. The district court granted Defendants’ summary judgment motion,

  holding that Plaintiffs’ ERISA claim failed at the threshold because Defendants were

  not fiduciaries, and declined to exercise supplemental jurisdiction over the state law

  claims. The district court also denied defendants’ motions for counsel fees and costs.

  These cross-appeals followed. We have jurisdiction under 28 U.S.C. § 1291, and we

  affirm.

        1. Plaintiffs’ ERISA claims against Defendants turn on whether they acted as

  fiduciaries “when taking the actions subject to complaint.” Pegram v. Herdrich, 530

  U.S. 211, 226 (2000). The parties entered into Engagement Agreements stating that

  Defendants were not fiduciaries. However, whether one is a fiduciary, turns on the

  activity in question, rather than the title of the person or entity. CSA 401(K) Plan v.

  Pension Prof’ls, Inc., 195F.3d 1135, 1138 (9th Cir. 1999). Under ERISA, discretion

  is the sine qua non of fiduciary status and duty, and fiduciary status requires the

  actual exercise of discretionary authority. 29 U.S.C. § 1002(21)(A); Depot, Inc. v.

  Caring for Montanans, Inc., 915 F.3d 643, 656–57 (9th Cir. 2019); IT Corp. v. Gen.

  Am. Life Ins. Co., 107 F.3d 1415, 1420 (9th Cir. 1997).
Case 3:16-cv-02644-WQH-MSB Document 134 Filed 07/15/20 PageID.3335 Page 6 of 8

                                                                            Page 4 of 6

        Third-party administrators are not fiduciaries when they “perform their usual

  professional functions in rendering legal, accounting, actuarial, or consulting

  services to an employee benefit plan.” CSA 401(K), 195 F.3d at 1139. Indeed, the

  Department of Labor has explained that such services constitute strictly ministerial

  conduct that cannot give rise to fiduciary liability. See 29 C.F.R. § 2509.75–8.

  Plaintiffs allege Defendants’ activities went beyond ordinary, advisory services

  when Defendants: (1) told Plaintiffs how much to contribute annually to the Plans;

  (2) amended the benefit formula for one of the Plans in 2009 and 2010 without

  consulting Plaintiffs; (3) decided that Plaintiffs’ defined benefit plans should be

  terminated and rolled over into a profit-sharing plan after Defendants’ advice caused

  the plans to be overfunded by almost $2 million. Plaintiffs’ claims are without merit.

        Plaintiffs essentially assert that Defendants gave them bad advice, but such

  claims of malfeasance sound in common-law negligence or malpractice, not

  ERISA’s fiduciary obligations. The record shows that Defendants advised Plaintiffs

  on the permissible contribution ranges for their retirement plans. However, Plaintiffs

  retained their final, independent judgment on how much to contribute, so these

  recommendations could not have constituted discretionary administration of the

  Plans. 29 U.S.C. § 1002(21)(A). Plaintiffs also allege that Defendants improperly

  amended one of their pension plans in 2010. While Defendants prepared certain tax

  forms reflecting a necessary plan amendment, Plaintiffs executed those forms, and
Case 3:16-cv-02644-WQH-MSB Document 134 Filed 07/15/20 PageID.3336 Page 7 of 8

                                                                             Page 5 of 6

  maintained sole authority to make changes to the plan. Likewise, Plaintiffs’

  allegation that Defendants forced Plaintiffs to terminate and roll over one of their

  profit-sharing plans fails at the threshold because Defendants never gave Plaintiffs

  a directive, and never deprived Plaintiffs of their discretion or final decision-making

  authority. Accordingly, Defendants’ actions do not make them functional

  fiduciaries.

        2. Turning to Defendants’ appeal, we review the denial of fees and costs for

  an abuse of discretion, and reversal is warranted if the judge below “made a clear

  error of judgment in its conclusion upon weighing relevant factors.” Hummell v. S.

  E. Rykoff & Co., 634 F.2d 446, 452 (9th Cir. 1980). Attorneys’ fees are awarded at

  the court’s discretion under Section 502(g)(1) of ERISA. 29 U.S.C § 1132(g)(1).

  Once the moving party shows that they have achieved “some degree of success on

  the merits,” Hardt v. Reliance Standard Life Ins. Co., 560 U.S. 242, 255 (2010), the

  court turns to the multi-factor Hummell test, weighing: (1) the opposing parties’

  culpability or bad faith; (2) the opposing parties’ ability to pay; (3) whether a fees

  award would deter others from acting under similar circumstances; (4) whether the

  moving parties sought to benefit all beneficiaries of an ERISA plan or to resolve a

  significant legal question regarding ERISA; and (5) the relative merits of the parties’

  positions. Hummell, 634 F.2d at 453.

        After a review of the relevant law, including Hummel, the district court denied
Case 3:16-cv-02644-WQH-MSB Document 134 Filed 07/15/20 PageID.3337 Page 8 of 8

                                                                              Page 6 of 6

  Defendants’ motion for fees and costs in a six-page opinion. On appeal, Defendants

  argue Plaintiffs should have known that they did not have a viable ERISA claim

  against Defendants, and that the judge should have found that the first, third, and

  fifth Hummel factors counseled in favor of granting Defendants fees and costs. We

  disagree. The district court correctly observed that Plaintiffs’ failure to prevail on

  the merits did not demonstrate culpability or bad faith, and that an award would serve

  no deterrent purpose. At most, the fifth factor was wrongly determined to be neutral.

  But that factor alone did not tilt the balance, and there was no clear error of judgment

  in concluding that this case did not warrant an award of fees or costs.

        AFFIRMED.
